
50 So.3d 762 (2010)
William HASHEM, Petitioner,
v.
FLORIDA DEPARTMENT OF CORRECTIONS, Respondent.
No. 1D10-3429.
District Court of Appeal of Florida, First District.
December 28, 2010.
*763 William Hashem, pro se, Petitioner.
Kathleen Von Hoene, General Counsel, Sheron Wells, Assistant General Counsel, Florida Department of Corrections, Tallahassee, for Respondent.
PER CURIAM.
We hereby grant the petition for writ of mandamus. The circuit court shall rule on the pending petition for writ of mandamus within a reasonable time, not to exceed 30 days from issuance of mandate in this cause. Because we are confident that the circuit court will issue a ruling, we withhold issuance of the formal writ.
PETITION GRANTED.
WEBSTER, HAWKES, and THOMAS, JJ., concur.
